                  Case 15-22144-RBR              Doc 59        Filed 09/26/17      Page 1 of 1




     UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
             CHAPTER 13 PLAN (Individual Adjustment of Debts) www.flsb.uscourts.gov
                                  Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                        9th
                                 Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

DEBTOR: Hutchinson, John D.                   JOINT DEBTOR: n/a                 CASE NO.15-22144-RBR
Last Four Digits of SS# 1158                  Last Four Digits of SS#: n/a      Case Filed.7/6/2015
G This document is a plan summary. Additional data on file in clerk's office attached to original plan.

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from
filing/conversion date, Debtor(s) to pay to the trustee for the period of 60 months. In the event the
trustee does not collect the full 10%, any portion not collected will be paid to the creditors pro-rata under
the plan:

A.       $2,350.14 for months 1 to 25;
B.       $3,278.00 for month 26;
C.       $3,328.59 for months 27 to 60; in order to pay the following creditors:
Administrative:            Attorney's Fee: $4,550.00**         TOTAL PAID: $990.00
                           Balance Due: $3,560.00              Payable $103.90/month (months 1 to 25) and
                                                               $962.50/month (month 26)
**$3,500 Regular Legal Fee + $1,050.00 two (2) Modifications

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] including creditors entitled to
adequate protection payments which shall be paid through the plan:
 Seterus, Inc, [POC #5]                                Arrearage upon date of petition: $42,594.59
 14523 Sw Millikan Way St                              Arrearage Payment $508.23/month (Months 1 to 25)
 Beaverton, OR 97005                                   Arrearage Payment $495.00/month (Month 26)
 Acct #4402                                            Arrearage Payment $864.52/month (Months 27 to 60)
 Property: 9590 NW 20 Pl, Sunrise, FL 33322            Regular Payment $1,399.50month (Months 1 to 25)
                                                       Regular Payment $495.00/month (Month 26)
                                                       Regular Payment $1,700.00/month (Months 27 to 60)

Priority Creditors: [as defined in 11 U.S.C. §507]
IRS [POC #3] Total Due $19,483.91; Pay $159.68/month (Months 1 to 25) and $990.00/month
(month 26) and $426.52/month (Months 27 to 60)
Unsecured Creditors: Pay $32.68/month (Months 1 to 25) and $37.50/month (Month 26) and
$34.95/month (Months 27 to 60).

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
The Auto Loan w/ Embassy Loans Inc., Acct:1158, has been paid off outside the Chapter 13 Plan
I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
/s/ Hutchinson, John D.
Debtor                                                         Date: September 26, 2017
